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IN THE UNITED STATES DISTRICT COURT FLed we

FOR THE DISTRICT OF COLORADO hocet

Criminal Action No. 03-cr-00127-LTB-04 .
1/24 loe
UNITED STATES OF AMERICA, LO4
Plaintiff,
Y.

4. SAIMA SAIMA,

Defendant.

MOTION TO DISMISS

The United States of America, by and through the undersigned attorneys, moves this
Court, pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, to enter an Order
dismissing all counts of the Indictment, the Superseding Indictment, the Second Superseding
Indictment and the Third Superseding Indictment against the defendant, SAIMA SAIMA. The
government makes this request pursuant to plea agreements for two co-defendants in this case
which, if accepted by the Court, call for the dismissal of all charges against this defendant.
Counsel for the defendant has been advised of this motion and does not object.

WHEREFORE, the government requests this Court to dismiss all counts of the

Indictment, the Superseding Indictment, the Second Superseding Indictment and the Third

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Superseding Indictment against the defendant, SAIMA SAIMA.
Respectfully submitted,

TROY A. EID
United States Attorney

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